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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                 4:07CR3152
                                     )
           v.                        )
                                     )
GEOFFREY A. LEACH, JOHN F.           )          MEMORANDUM AND ORDER
KROTZ,                               )
                                     )
                Defendants.          )
                                     )


     Defendant Krotz has filed a motion to suppress “the physical
evidence, statements, investigations and interrogations obtained
by the Government arising out of the search of the residence at
6008 Dogwood, Lincoln, Nebraska on October 10, 2007 and the
subsequent search of the residence at 2001 Washington, Lincoln,
Nebraska on or about October 18, 2007,” (filing 21), claiming
that the search warrant issued did not relate to him.


     Defendant Krotz was ordered to file the warrant affidavit,
warrant, and warrant return at issue.           Filing 23.     The warrant
application, warrant, and warrant return for the search of the
residence at 6008 Dogwood, Lincoln Nebraska was filed on January
3, 2008.   Filing 25.      The record contains no such documents for
the alleged later search of the residence at 2001 Washington,
Lincoln, Nebraska.       Although not clearly stated and argued,
defendant Krotz may be arguing that the search of the 2001
Washington address must be suppressed as the fruit of the prior
allegedly illegal search of the 6008 Dogwood address.


     The current state of the record makes it difficult to
determine precisely what issues have been raised by the
defendant.   The government has not yet filed its response.
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    IT THEREFORE HEREBY IS ORDERED:


    1.    On or before January 11, 2008, defendant Krotz shall
          file a supplemental brief which clarifies the legal
          issues he is raising in his filing 21 motion to
          suppress.

    2.    On or before January 16, 2008, the government shall
          file its response to defendant Krotz’ motion to
          suppress.

    DATED this 9th day of January, 2008.


                                   BY THE COURT:


                                   s/    David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge




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